Case 8:07-cr-00137-JSM-AEP Document 132 Filed 09/26/07 Page 1 of 6 PageID 343
Case 8:07-cr-00137-JSM-AEP Document 132 Filed 09/26/07 Page 2 of 6 PageID 344
Case 8:07-cr-00137-JSM-AEP Document 132 Filed 09/26/07 Page 3 of 6 PageID 345
Case 8:07-cr-00137-JSM-AEP Document 132 Filed 09/26/07 Page 4 of 6 PageID 346
Case 8:07-cr-00137-JSM-AEP Document 132 Filed 09/26/07 Page 5 of 6 PageID 347
Case 8:07-cr-00137-JSM-AEP Document 132 Filed 09/26/07 Page 6 of 6 PageID 348
